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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION

ACQIS LLC,                         §
                      Plaintiff,   §
                                   §
                                   §
                vs.                §
                                   §
ASUSTEK COMPUTER, Inc.,            §     Civil Action No.: 6:20-cv-965-ADA
                 Defendant,        §
                                   §
INVENTEC CORPORATION,              §     Civil Action No.: 6:20-cv-966-ADA
                 Defendant,        §
                                   §
LENOVO GROUP LTD. et al,           §     Civil Action No.: 6:20-cv-967-ADA
                  Defendants,      §
                                   §
MITAC COMPUTING TECHNOLOGY         §     Civil Action No.: 6:20-cv-962-ADA
CORPORATION,                       §
                 Defendant,        §
                                   §
WIWYNN CORPORATION,                §     Civil Action No.: 6:20-cv-968-ADA
                Defendant.         §
                                   §




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Exhibits 1-26 were attached to Defendants Opening Brief. Exhibits 27-34 are attached hereto.

All emphases have been added unless otherwise noted.




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       Defendants’ claim constructions are true to the intrinsic record—the plain language of the

claims, the complete disclosure of the patent specifications, and ACQIS’s repeated admissions

before the Patent Office to save its patents. Every part of the intrinsic record confirms that the

recited PCI bus transactions are transactions in accordance with the industry standard PCI Local

Bus Specification, as Defendants propose—and other Courts have agreed, including most recently

in the Samsung case. Ex. 27 at 19. The intrinsic record also establishes that the claimed PCI bus

transactions always include the control signals that ACQIS omits.            The PCI Local Bus

Specification expressly requires control signals to define PCI transactions—e.g., when and how

the transaction begins and ends. Ex. 11 at 26. And the patent specifications confirm that the same

control signals are present. See infra Section A.4. Indeed, before the Patent Office, ACQIS’s own

expert admitted that control signals are required: “they define the transaction, so have to be

there.” Ex. 12, 145:24–146:17. This is a clear and unmistakable disclaimer that is binding on

ACQIS. Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353 (Fed. Cir. 2017). Thus, every part of

the intrinsic record confirms that a PCI bus transaction requires more than the address, data and

command information that ACQIS now urges for infringement purposes.

       In an effort to obscure the clear intrinsic record, ACQIS misrepresents its IPR admissions,

examines patent excerpts out of context, and ignores the requirements of the PCI Local Bus

Specification. Rather than refute Defendants’ constructions on the merits, ACQIS adds unstated

requirements—e.g., that every section of the PCI Local Bus Specification must be read into the

claims—to attack a strawman construction.        And ACQIS runs the same playbook for the

“Universal Serial Bus (USB) protocol” terms to escape its prior admission that “the term ‘USB’

refers to the versions of the USB specification in existence at the time of the invention, including

USB 2.0 and prior versions.” Ex. 17 at 10. Defendants’ construction tracks this statement and
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Judge Payne’s recent Samsung opinion construing the USB terms as referring to USB 2.0. Ex. 27

at 31-33. In sum, ACQIS disregards the intrinsic record to blur the distinction between (i) what a

POSITA would have understood as requirements of the then-existing PCI and USB protocols of

ACQIS’s claims, and (ii) ACQIS’s cherry-picked subset of information—e.g., address and data

information—which cannot of itself (without other necessary information that ACQIS discards)

define the transaction or protocol recited by the claim language. For the remaining terms, ACQIS’s

positions also ignore the consistent teachings of the patent specifications and should be rejected.

       A.      “Peripheral Component Interconnect (PCI) Bus Transaction” / “PCI Bus
               Transaction”

       ACQIS asks this Court to limit a PCI bus transaction to require only “PCI address, data,

byte enable, and command type information.” While ACQIS claims that its proposal “aligns with

Judge Davis’s prior construction” (Resp. at 7), ACQIS fails to mention that Judge Davis rejected

ACQIS’s attempt to limit a PCI bus transaction to a subset of information, holding that “a PCI bus

transaction must include all information required by the PCI standard” and “[the PCI Local Bus

Specification] does not clearly define a ‘transaction’ as digital command, address, and data

information.” EMC E.D. Tex. Markman, 2015 WL 1737853, at *5. As demonstrated below—

and as recently recognized by Judge Payne (Ex. 27 at 17-19)—the PCI Local Bus Specification

and the asserted patents, especially in view of ACQIS’s unequivocal disclaimers at IPR, do not

limit a PCI bus transaction to ACQIS’s infringement-driven proposal.

               1.      ACQIS Disclaimed Its Proposed Construction To Preserve The
                       Validity Of Its Patents

       In its Response (“Resp.”) to Defendants’ Opening Claim Construction Brief (“Br.”),

ACQIS states “[b]efore the PTAB, as here, ACQIS contended that a ‘PCI bus transaction’ should

be construed in accordance with the information required by the PCI Specification.” Resp. at 18.

Not true. ACQIS told the PTAB that a PCI Bus Transaction is a transaction. E.g. Br. at 10-11;

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Ex. 5 at 5 (“PCI Bus Transaction is properly limited to bus transactions according to the Peripheral

Component Interconnect protocol.”). ACQIS’s unequivocal admissions that a PCI bus transaction

is a transaction are binding intrinsic evidence that the Court must hold ACQIS to. See e.g., Aylus

Networks, Inc., 856 F.3d at 1361-62.

       ACQIS also made clear and unmistakable statements to the PTAB that a PCI bus

transaction requires control signals. Br. at 17-18. First, ACQIS’s IPR expert Dr. Lindenstruth

admitted that a PCI bus transaction requires control signals. Id. ACQIS attempts to dismiss Dr.

Lindenstruth’s irrefutable testimony by claiming that “when read as a whole (rather than the

selective cherry picking done by Defendants), the testimony . . . is consistent with a ‘transaction’

not including the control signals themselves.” Resp. at 19. In fact, Dr. Lindenstruth’s testimony

read “as a whole” says the opposite. Ex. 12 at 142:4-146:17. ACQIS cites a single paragraph of

Dr. Lindenstruth’s declaration to argue that he did not admit a PCI bus transaction requires control

signals. Resp. at 20. EMC’s counsel directed Dr. Lindenstruth to that same paragraph and asked

him if control signals are “also part of what the claims require as a PCI bus transaction.” Ex. 12

at 145:18-146:17. He unequivocally said yes:

               Q. Do these control lines, such as frame, target ready, and so forth,
               are they part of the PCI bus transaction as you understand that term
               in the claims of the patent?

               MR. DAVIS: Objection; form.

               Q. So, you know, earlier we were talking about what your
               understanding of the term “PCI bus transaction”, looking at
               paragraph 114, for example, of your declaration, and you stated
               claims require address and data phases of a PCI bus transaction, et
               cetera. Are these control lines also part of what the claims require
               as a PCI bus transaction?

               A. Since they are required to define what is going on on the bus at
               any point in time, the answer is yes. They define the PCI
               transaction. If you, for example, would remove from one byte
               enable you have no way of knowing whether we are reading,

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               writing, or what other functionality is to be executed. If you remove
               any of the flow control signals, you cannot steer the fact if a device
               is not immediately ready, which happens a lot. So they would have
               to be -- they define the transaction, so have to be there.

Id. Dr. Lindenstruth makes clear that control signals are required to define the transaction—e.g.,

the beginning and end of a transaction. ACQIS’s allegation that a POSITA would read his

testimony as ambiguous or subject to more than one reasonable interpretation is incredible.

       Second, ACQIS’s counsel also repeatedly told the PTAB that a PCI bus transaction

according to the PCI Local Bus Specification requires control bits. Br. at 18, 23. ACQIS argues

that despite saying “control bits,” counsel was actually referring to command information. Resp.

at 18-20. However, the PCI Local Bus Specification distinguishes “control” from “command.”

See, e.g., Ex. 11 at 10 (describing “command” signal C/BE[3::0]# and “control” signals FRAME#,

IRDY#, TRDY#). And the ’873 patent at issue at IPR could not be more clear: “A specific example

of a control signal is FRAME# used in PCI buses. A control bit . . . is a data bit that represents

a control signal.” ’873 patent, 17:30-32. Even assuming the veracity of ACQIS’s post hoc

explanation, its counsel said “control bits” and the public is entitled to rely on those admissions.

See Tech. Props. Ltd. LLC v. Huawei Techs. Co., 849 F.3d 1349, 1359 (Fed. Cir. 2017) (“But the

scope of surrender is not limited to what is absolutely necessary to avoid a prior art reference;

patentees may surrender more than necessary. When this happens, we hold patentees to the actual

arguments made, not the arguments that could have been made.”) ACQIS’s counsel’s statements

that control bits are required, viewed with its expert’s unequivocal admission that control signals

are “part of what the claims require as a PCI bus transaction,” inform a POSITA that the claimed

PCI bus transaction must include control signals. See id. (“The question is what a [POSITA] would

understand the patentee to have disclaimed during prosecution, not what . . . the patentee needed

to disclaim during prosecution.”).


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               2.      The Legal Conclusion Of ACQIS’s IPR Admissions Is That ACQIS Is
                       Bound To Its Disclaimers

       As a matter of law, ACQIS is bound by its IPR admissions that a PCI bus transaction

includes control signals. E.g., Biogen Idec, Inc. v. GlaxoSmithKline LLC, 713 F.3d 1090, 1095

(Fed. Cir. 2013). ACQIS argues that requiring control signals would improperly exclude preferred

embodiments of the patents. Resp. at 1, 6, 8, 14. As explained in Section A.4 below, that is not

true, the patents require control signals as part of a PCI bus transaction. But even if that were true,

“[w]hen a patentee has disavowed a claim scope that would cover embodiments disclosed in the

specification, there is no legal requirement the disavowed claim be construed to embrace such

embodiments.” nCAP Licensing, LLC v. Apple Inc., No. 2:17-cv-905, 2019 WL 2409666, at *6

(D. Utah June 7, 2019); see also N. Am. Container, Inc. v. Plastipak Packaging, Inc., 415 F.3d

1335, 1346 (Fed. Cir. 2005) (“[L]imitations may be construed to exclude a preferred embodiment

if the prosecution history compels such a result.”).

       ACQIS further argues that its disclaiming statements regarding the ’873 and ’814 patents

cannot attach to the Reissue Patents because the Reissue Patents do not claim priority to either of

the IPR patents. Resp. at 30, n. 11. But “the prosecution history regarding a particular limitation

in one patent is presumed to inform the later use of that same limitation in related patents[.]”

Trading Techs. Int’l, Inc. v. Open E Cry, LLC, 728 F.3d 1309, 1323 (Fed. Cir. 2013). The Reissue

Patents and the Non-Reissue patents are related—both purport to incorporate by reference the same

provisional application, and ACQIS cites to that provisional for written support. E.g., Ex. 28 at 5,

30; Ex. 29 at 4, 41. And ACQIS itself concedes that the “the disclosures of the [the Reissue

Patents] overlap substantially with the [Non-Reissue Patents]” and the differences in specifications

of the Non-Reissue and Reissue patents “do not suggest any different interpretation of a ‘PCI bus

transaction.’” Resp. at 4, 10 n. 7.


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               3.      The PCI Local Bus Specification Does Not Limit A PCI Bus
                       Transaction To ACQIS’s Subset Of Information

       The PCI Local Bus Specification is intrinsic evidence that demonstrates a PCI bus

transaction requires more than the subset of information ACQIS identifies. Br. 14-16. As

Defendants explained, the Specification teaches that a PCI bus transaction requires address and

data phases, control signals, and parity. Id.

For example, Figure 3-5 (shown right) of

the   Specification   “illustrates   a   read

transaction.” Ex. 11 at 47. It depicts not

only address (AD) and command/byte

enable (C/BE#) signals, but also control

signals FRAME#, IRDY#, TRDY#, and

DEVSEL#. Citing Figure 3-5, the Specification states: “The fundamentals of all PCI data

transfers are controlled with three signals . . . FRAME# . . . IRDY# . . . TRDY#.” Ex. 30 at 26.

The Specification further explains how each control signal is used during a transaction. For

example, the Specification states that FRAME# “indicate[s] the beginning and end of a

transaction” (id.), and it explains that “a read transaction [] starts with an address phase which

occurs when FRAME# is asserted for the first time[.]” Ex. 11 at 47.1

       ACQIS concedes that the PCI Local Bus Specification defines a “transaction” as an

“address phase plus one or more data phases,” but argues the claims require only some information

transmitted during those phases. Resp. at 12-13, 18. In particular, ACQIS argues that a POSITA

reading the patents and the Specification would understand that the control signals are not required.


1
 See also Ex. 11, at 49 (“All transactions are concluded when FRAME# and IRDY# are both
deasserted, indicating an Idle state.”); id. at 301 (“All transactions are concluded when FRAME#
and IRDY# are deasserted (an idle cycle).”)
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Id. at 13. But ACQIS’s own IPR expert, Dr. Lindenstruth, agreed that control signals are “also

part of what the claims require as a PCI bus transaction,” and explained that they “have to be there

[because] they define the transaction.” Ex. 12, 145:17-146:17; see also Ex. 32 at ¶¶ 19, 25.2

       Defendants also explained that the PCI Local Bus Specification teaches that a PCI bus

transaction requires parity signals.   Br. at 15-16.    ACQIS’s arguments to the contrary are

contradictory and wrong. First, ACQIS argues that parity is not part of a PCI bus transaction

because it is sent “after the ‘transaction’” itself. Resp. at 13. Not so. Parity signals “lags the

corresponding address or data by one clock”; they are not delayed until a transaction is complete.

See Ex. 11 at 94, Fig. 3-20. Indeed, ACQIS later concedes parity is calculated during a transaction.

Resp. at 17 (“[P]arity is calculated on a ‘transaction’ during a ‘transaction[.]’”) (emphasis

modified).   That the Specification at one point describes calculating parity “on all PCI

transactions” is not, as ACQIS contends, proof that parity is not part of a transaction. Id.

Elsewhere the Specification describes Figure 3-20 as “illustrat[ing] both read and write

transactions with parity.” Ex. 11 at 94. ACQIS’s semantics aside, it is undisputed that “parity

generation is not optional” and that it “provides a mechanism to determine for each transaction if

the master is successful in addressing the desired target and if data transfers correctly between

them.” Id. That is, parity is a required element of a PCI bus transaction that ensures each stage of

a transaction successfully occurs. See Ex. 32 at ¶¶ 13-15, 25.3



2
  In its Response, ACQIS relies extensively on the declarations of Dr. Marc E. Levitt, submitted
in support of ACQIS’s claim construction briefing in another case, ACQIS LLC v. Samsung Elec.
Co., Ltd., et al., No. 2:20-cv-00295-JRG. To rebut that extrinsic evidence, Defendants have cited
to the expert declarations of Dr. Robert Colwell, submitted in support of Samsung’s claim
construction briefing. Exs. 31, 32.
3
  ACQIS also argues that its constructions are consistent with the purported purpose of the
invention to provide an interface that is compatible with legacy PCI communications (Resp. at 1-
2, 6, 10-12, 14, 34, 36-37), yet its infringement-driven constructions would prevent backward
                                                 7
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               4.      The Patent Specifications Do Not Limit A PCI Bus Transaction To
                       ACQIS’s Subset Of Information

       ACQIS argues the patent specifications support limiting a PCI bus transaction to only “PCI

address, data, byte enable, and command type information.” Resp. 9-11. They do not. ACQIS

relies primarily on Figure 13 of the Non-Reissue patents (annotated below), and includes an

annotated version in its

Response. But the patent

specifications teach that

the two CK+ columns that

ACQIS failed to highlight (outlined in blue) are bits (BS0-BS3) that represent “part of the function

of PCI control signals, such as FRAME#, IRDY#, and TRDY#.” ’873 patent, 20:44-47. Though

ACQIS concedes that BSO-BS3 may “represent PCI control signals,” ACQIS contends that is

limited to only some embodiments. Resp. at 17. But one of the disclosures ACQIS dismisses as

just “one embodiment” is the same disclosure that ACQIS relies on to argue a PCI bus transaction

requires “address bits,” “data bits,” and, “byte enable information bits.” Compare Resp. at 17

(citing ’768 patent, 21:37-58) with Resp. at 10 (same). And ACQIS fails to address that the Non-

Reissue specifications state that “in the present invention”—with no limitation to a specific

embodiment—“PCI control signals are encoded into control bits and the control bits . . . are

transmitted on the interface channel.” E.g., ’873 patent, 5:33–36; see Verizon Servs. Corp. v.

Vonage Holdings Corp., 503 F.3d 1295, 1308 (Fed. Cir. 2007) (“When a patent . . . describes the

features of the ‘present invention’ as a whole, this description limits the scope of the invention.”).

As ACQIS concedes, the Reissue Patents do not contain Fig. 13 and its corresponding disclosures



compatibility because they do not account for all of the information required by a PCI bus
transaction in the legacy PCI Local Bus Specification.
                                                  8
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that ACQIS says show encoded PCI control signals are optional. Resp. at 10, n. 7. But the Reissue

Patents do describe encoding PCI control signals into control bits and transmitting them on the

interface channel, untethered to “one embodiment.” E.g., ’140 patent, 17:24-30. Thus, the

specifications of both the Non-Reissue and Reissue patents describe a PCI bus transaction that

includes control bits representing PCI control signals. See also Ex. 32 at ¶¶ 20-26.

               5.      Defendants’ Proposal Will Resolve The PCI Claims

       ACQIS asserts that Defendants’ proposed construction “lacks sufficient detail to resolve

any dispute” because it is either (1) overbroad or (2) insufficiently clear.4 Resp. 13-15. It is

neither. Defendants propose the same construction that resolved the EMC case. Br. at 6-7. ACQIS

tries to escape that fact by arguing that the EMC court “altered” the claim construction of “PCI

Bus Transaction” at summary judgment. Resp. 14. But the record shows ACQIS, not the EMC

court, tried to modify the court’s construction at summary judgment to resurrect its infringement

case. EMC D. Mass. Summary Judgment, 2021 WL 1088207, at *4 (“All of ACQIS’s arguments

are attempts to skirt the claim construction set forth by Judge Davis and this Court . . . Put simply,

ACQIS is attempting to reopen claim construction.”); id. at *5 (“The Court rejects ACQIS’s

proffered modification of the claim term ‘PCI bus transaction’ to narrow the application and

meaning of the Specification.”). In any event, ACQIS’s complaints that the EMC court modified

its construction of a PCI bus transaction to require “every element” of the PCI Specification are

overstated. Resp. at 14, 21. The EMC court granted summary judgment based on a set of narrow,

undisputed facts: ACQIS did not dispute EMC’s products did not include “an address phase

followed by one or more data phases as well as control signals and parity signals.” EMC D. Mass.



4
  By ACQIS’s logic, its construction is just as unclear. That a PCI bus transaction includes “at
least” certain information does not provide an upper bound for the content of a signal that would
qualify as a PCI bus transaction.
                                                  9
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Summary Judgment, 2021 WL 1088207, at *4. And those are the same elements Defendants say

a PCI bus transaction requires here. Br. at 14-16.5

               6.     Collateral Estoppel Applies, And ACQIS’s Arguments In Opposition
                      Are Legally and Factually Wrong

       Defendants explained that collateral estoppel bars ACQIS from advancing its proposed

construction for both “PCI bus transaction” and claims that recite specifics “bits” of a “PCI bus

transaction.” Br. at 19-20, 25-26. ACQIS’s arguments to the contrary do not overcome that bar.

First, ACQIS argues that the EMC court relied solely on agreed constructions and therefore did

not consider the intrinsic evidence. Resp. at 20, 25. Not true. For “PCI bus transaction,” Judge

Burrough’s construction and grant of summary judgment were based on Judge Davis’ holding that

“a PCI bus transaction must include all information required by the PCI standard” and his rejection

of ACQIS’s attempt to “define a ‘transaction’ as digital command, address, and data information.”

EMC D. Mass Summary Judgment, 2021 WL 1088207, at *3-4 (“This Court, together with Judge

Davis, has fulfilled the first part of the infringement analysis through the claim construction

process . . . All of ACQIS’s arguments are attempts to skirt the claim construction set forth by

Judge Davis and this Court.”); EMC E.D. Tex. Markman, 2015 WL 1737853, at *5. For the

“specific bits” terms, Judge Burroughs adopted the parties’ construction because it “is also

supported by the intrinsic evidence.” EMC D. Mass. Markman, 2017 WL 6211051, at *8.6



5
  ACQIS also argues that because the PCI “specification relates to many things other than just
‘transactions,’” a construction that references the Specification without more is “absurd.” Resp.
at 14-15. But Defendants’ proposal states “a transaction in accordance with the industry standard
PCI Local Bus Specification . . .” No POSITA would understand a transaction to require all of
the physical and electrical disclosures in the Specification, which ACQIS concedes are “things
other than just ‘transactions.’” Resp. at 14; see also Ex. 32 at ¶ 9; Ex. 31 at ¶ 58.
6
  These excerpts also defeat ACQIS’s claim that the EMC court “did not address the merits of
ACQIS’s arguments regarding the proper scope of the parties’ stipulated construction, and thus
the issue was not actually litigated.” Resp. at 22-23.
                                                10
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         Second, ACQIS argues that there is no collateral estoppel because an appeal is pending.

Resp. at 22. ACQIS is mistaken. The regional circuit’s collateral estoppel rules govern. See

Novartis Pharm. Corp. v. Watson Labs., Inc., 611 Fed. Appx. 988, 997 (Fed. Cir. 2015). In the

Fifth Circuit, “the finality of a judgment is not affected by the pendency of an appeal.” Welch v.

All Am. Check Cashing, Inc., No. 3:13-cv-271, 2015 WL 4066495, at *5 (S.D. Miss. July 2,

2015) (collecting cases).7

         Third, ACQIS argues the EMC court’s ruling should not apply because the claims and

disclosures here are different from those there. Resp. at 23. For example, ACQIS says the EMC

court did not address claim language reciting only certain bits, like “address and data bits of a

Peripheral Component Interconnect (PCI) bus transaction.” Id. But the EMC case involved nearly

identical language. See Ex. 14 at 21 (showing exemplary claim language at issue included “address

and data bits of PCI bus transaction” (RE 42,814, claims 24 and 31)). And ACQIS’s argument

that the EMC court did not address embodiments without a PCI bus is misleading given that the

EMC court agreed with ACQIS and expressly held a PCI bus transaction does not require a PCI

bus. EMC D. Mass. Markman, 2017 WL 6211051, at *4.8

         B.     Claims Reciting Specific “Bits” of a PCI Bus Transaction

         As Defendants explained, “ACQIS’s IPR counsel and expert unequivocally admitted at

IPR that claims that recite only specific bits of a PCI bus transaction still require ‘a PCI bus

transaction, including all address, data, and control bits.’” Br. at 22-25. Those admissions, which

form binding disclaimers now, recognize that you cannot have the claimed PCI bus transaction


7
  See also Wright v. Transportation Commc’n Union/IAM, No. 4:20-cv-0975, 2020 WL 7061874,
at *3 (S.D. Tex. Nov. 5, 2020), adopted, 2020 WL 7060213 (S.D. Tex. Dec. 1, 2020) (“The Fifth
Circuit has established that, for purposes of collateral estoppel, a judgment may be final even
though an appeal is pending.”).
8
    The patents at issue in EMC did contain the embodiment shown in Fig. 8B. RE42,984, Fig. 20.
                                                11
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without the other required elements of the transaction. Yet, ACQIS’s construction attempts to read

out a “PCI bus transaction” from the claims. ACQIS does not substantively address Defendants’

argument. Instead, ACQIS argues that Defendants’ construction is wrong because it (1) ignores

express claim language; (2) violates the presumption of claim differentiation; and (3) conflicts

with the specifications’ disclosures. Resp. at 24-25. But, as Defendants explained and ACQIS did

not attempt to rebut, all of those principles are trumped by ACQIS’s IPR disclaimers.

       First, ACQIS’s allegation that “Defendants never address the difference in scope between

claims that recite specific bits of a ‘PCI bus transaction’ and claims that do not” is wrong.

Defendants explained that the EMC IPRs involved both claims that recited a PCI bus transaction

(e.g., ’873 patent, claim 54) and claims that recite specific bits of a PCI bus transaction (e.g., ’873

patent, claim 61). Br. at 23-24. Defendants explained “that claim 61 recited specific bits of a PCI

bus transaction—while other claims did not—was a central issue in dispute at the IPR.” Id. at 24.

And Defendants explained that ACQIS’s counsel and expert unequivocally admitted that a PCI

bus transaction requires control bits whether or not the claim recites specific bits of a PCI bus

transaction. Br. at 24-25. For example, Dr. Lindenstruth explained that despite claim 24 of the

’814 patent “explicitly” reciting only “address and data bits,” it still required any “other corollary

information which is needed to define a PCI transaction.” Ex. 12 at 121:13–17. Later, Dr.

Lindenstruth explained that the PCI control signals were also “corollary signals which basically

define what’s going on[.]” Id. at 142:17–143:8. Thus, Defendants addressed the difference in

scope of the claims, but ACQIS chose not to address those arguments.9




9
  The Samsung court declined to hold ACQIS to its counsel’s disclaiming statements. Ex. 27 at
22-23. But the court was not directed to Dr. Lindenstruth’s unequivocal admission that even a
claim reciting “address and data bits of [a] PCI bus transaction” still requires “other corollary
information which is needed to define a PCI transaction.” Ex. 12 at 121:13-17.
                                                  12
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       Second, ACQIS’s allegation that Defendants’ construction violates the presumption of

claim differentiation is belied by its IPR admissions that it ignores. As Defendants explained,

EMC argued that the doctrine of claim differentiation meant that the scope of the PCI bus

transaction of claims 54 and 61 were different because claim 61 recited “address and data bits”

while claim 54 did not. Br. at 23-24; Ex. 4 at 14:20-21. ACQIS opposed EMC’s claim

differentiation argument regarding claim 61, explaining that the only difference between claim 54

and claim 61 was that claim 61 carved out “interrupt acknowledgements,” not control bits. Ex. 4

at 35:11–24. ACQIS does not address those statements.

       Third, ACQIS’s argument that Defendants’ proposed construction conflicts with the

specifications’ disclosures also misses the mark. The specifications consistently describe PCI bus

transactions compliant with the PCI Local Bus Specification requiring more than address, data and

byte enable bits. See supra Section A.4. Regardless, a patentee can disclaim even a preferred

embodiment. N. Am. Container, 415 F.3d at 1346; nCAP Licensing, 2019 WL 2409666, at *6.

       C.      Claims Reciting an “Encoded” PCI Bus Transaction or a PCI Bus
               Transaction in “Serial Stream” or “Serial Form”

       All of the claims associated with these terms recite a “PCI bus transaction.” See Ex. 15. It

is undisputed that a PCI bus is a parallel bus. E.g., Resp. at 1 (describing prior art “parallel

Peripheral Component Interconnect (PCI) bus”). ACQIS’s purported invention, on the other hand,

is a serial bus. Id. What the specifications describe and ACQIS argued at IPR, yet denies now, is

that the claims require serializing the otherwise parallel PCI bus transactions, irrespective of

whether the claims recite a PCI bus. The Court should adopt Defendants’ construction, which

holds ACQIS to its past statements and patent teachings.

       ACQIS cannot deny that to preserve the validity of the ’873 patent that it asserts here, it

argued that “[a]s described in the specification . . . one key to the invention was to serialize the


                                                13
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otherwise parallel PCI bus transactions[.]”). Ex. 3 at 3. Nor that it argued that prior art failed to

describe “serializ[ing] an actual PCI bus transaction.” Id. at 21-22. Nor can ACQIS deny that its

counsel told the Board that “the whole point” of the invention was “I’m going from parallel, I’m

putting on a serial line.” Ex. 4 at 30:13-31:2. Finally, ACQIS cannot deny that those statements,

and others (Br. 28-29), led Judge Burroughs to find that “an encoded PCI transaction requires that

a PCI bus transaction be encoded for serial transmission from a parallel form.” EMC D. Mass.

Markman, 2017 WL 6211051, at *7. Instead, ACQIS argues that the court should reject the EMC

construction and give “greater weight” to Judge Davis’ previous construction of “encoded PCI bus

transaction” because it “was legally determined by the court rather than stipulated to by the parties,

was used in a jury trial, and was not disturbed on appeal.” Resp. at 27, 32. Apart from ACQIS’s

incorrect suggestion that the parties “stipulated” to the encoded construction in EMC, ACQIS’s

argument glosses over a key issue: Judge Davis’ construction predated ACQIS’s unequivocal IPR

admissions that the Court now must account for.

         ACQIS further argues that the Court should ignore ACQIS’s IPR disclaimers and the EMC

construction because, according to ACQIS, some of the asserted patents (but not the ’873, ’624,

and ’984 patents which also recite “encoded . . .” terms) include additional figures (8A, 8B) that

are not present in the EMC IPR patents. Resp. at 30, 33.10 ACQIS argues those figures’ disclosures

of a chip directly connected to a serial interface with no parallel interface (i.e., a PCI bus) directly

contradict ACQIS’s IPR statements that parallel-to-serial is required. Id. But that argument is

inconsistent with what ACQIS is currently arguing before the PTAB. Several pending IPR

petitions allege that ACQIS did not properly incorporate by reference Figures 8A and 8B (which

originally appear in U.S. Prov. Appl. No. 60/086,886 (“Chu ’886”)) until 2011, when ACQIS filed



10
     ACQIS omits that the patents in EMC did include Figs. 8A, 8B. See RE42,984, Figs. 19, 20.
                                                  14
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application no. 13/087,912. E.g., Ex. 33 at 36-37. In rebuttal, ACQIS admits that Figures 8A and

8B come from Chu ’886 (Ex. 28 at 8) and argues that “every patent in the ’768 patent’s priority

chain properly incorporated Chu ’886 by reference through Chu ’330.” Ex. 28 at 30; see also id.

at 5 (“Chu ’330 and Chu ’886 are part of the disclosure of each application in the priority chain[.]”)

The ’873 patent is in that priority chain. Ex. 2. Therefore, according to ACQIS and inconsistent

with its Response, the ’873 patent includes Figures 8A and 8B.11

       Moreover, ACQIS fails to mention that it advanced essentially the same argument, and

lost, before the EMC court. EMC D. Mass Markman, 2017 WL 6211051, at *5 (“ACQIS suggests

that because several of the claims describe communicating encoded PCI bus transactions ‘without

an intervening PCI bus,’ parallel-to-serial conversion must not be required.”). ACQIS lost

because it told the PTAB that parallel-to-serial conversion is required even when “there’s no PCI

bus.” Ex. 4 at 46 (explaining that despite Figure 8 of the ’873 patent showing “no PCI bus” and

“the claims don’t require a bus,” the claims still “require a PCI transaction to take place” that

involves “taking it at a parallel form, putting it into serial form and then back to parallel.”).

ACQIS’s counsel was right—no matter the hardware configuration, the claimed PCI bus

transaction is a parallel transaction. Ex. 32 at ¶ 32. To transmit a parallel transaction across a

serial interface requires the parallel transaction be serialized. Id. at ¶¶ 30-37.

       Defendants explained that the patent specifications support its proposed construction. Br.

at 29-32. ACQIS argues that Defendants are wrong because Figure 10 of the ’873 patent shows



11
  The Samsung court did not apply ACQIS’s disclaiming statements in that case because the ’873
patent “has a different disclosure and claim set.” Ex. 27 at 26. However, the ’873 patent is asserted
here, and the parties failed to inform the court of ACQIS’s IPR statements regarding Figures 8A
and 8B, which contradict the Samsung court’s finding that “the ’873 Patent does not include
anything equivalent to Figures 8A and 8B of the ’768 Patent.” Additionally, the court’s reasoning
that “the claims of the Asserted Patents do not require a PCI bus transaction at all” is not applicable
here because all of the “encoded” terms requires a PCI bus transaction. See Ex. 15.
                                                  15
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encoding as a separate process from the serial-parallel converters. Resp. at 28. But as ACQIS

acknowledges, the encoders of Fig. 10 “format the PCI address/data bits to a form more suitable

for parallel to serial conversion[.]” ’873 patent, 16:55-58. That conversion occurs before the

address/data bits are “transmitt[ed] on the XP Bus,” i.e. the serial interface. Id. Thus, the claims

at issue here that recite encoded PCI bus transactions on a serial interface involve transactions

converted from parallel. Therefore, Figure 10 supports Defendants’ proposed construction.

       D.      “Universal Serial Bus (USB) protocol”

       As Defendants’ construction makes clear (and the recent Samsung decision confirms (Ex.

27 at 31-33), the USB protocol terms are properly construed with reference to the USB 2.0

Specification—the version of the protocol existing at the time of the patent application filing. The

USB 2.0 Specification is intrinsic evidence on the face of the patents, and it is how a POSITA

would understand what the USB protocol terms require.

       ACQIS concedes (as it must) that the claims refer to version 2.0 (and earlier) of the USB

specifications (Resp. at 38), but then attacks strawman positions that Defendants’ constructions do

not require—i.e., that the terms require a “Universal Serial Bus” or “all aspects of the USB

specifications.” Resp. at 35. What Defendants contend, and the USB 2.0 Specification makes

clear, is that the USB protocol requires more than communicating some data or information. That

could occur under any protocol. And nothing in the intrinsic record justifies ignoring the plain

meaning of the USB protocol terms to require just data or some arbitrary subset of the USB

protocol. For example, ACQIS argues that USB “data” refers to information described in the USB

specification as the “data payload.” As Defendants explained, the USB protocol requires more

than a data payload, that is, more than the data portion of a transaction. Br. at 35-37. The USB

2.0 Specification explains that the “protocol” is a “specific set of rules, procedures, or conventions

relating to format and timing of data transmission between two devices.” Ex. 20 at 8.
                                                 16
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          ACQIS also argues that Defendants have mischaracterized its position with regard to the

later generation USB 3.0 specification. Not so. Making what appears to be infringement-related

arguments (Resp. at 36-38), ACQIS contends—without a single reference to the intrinsic record—

that USB 3.0, which did not exist at the time of the patent filing, somehow comes within the scope

of a proper claim construction. That is misleading at best. As the Samsung court stated, the term

“Universal Serial Bus (USB) protocol” must be interpreted as of the priority date. Ex. 27 at 32-

33. This Court should likewise reject ACQIS’s efforts to shoehorn into its claims a version of the

USB protocol that did not exist at the time of the patent filing. Moreover, it is ACQIS that

mischaracterizes Defendants’ position—Defendants never agreed that a communication channel

can satisfy both USB 2.0 and USB 3.0 at the same time. Resp. at 37. Nor does (or could) ACQIS

point to any such admission by Defendants. Contrary to ACQIS’s bare assertions, there are

substantial differences between USB 2.0 and USB 3.0, and most importantly for claim

construction, USB 3.0 comes too late. Ex. 31 at ¶¶ 60-63; Ex. 32 at ¶¶ 43-45.

          ACQIS further misstates Defendants’ position on “data packets” in an attempt to disguise

its unsupportable position that the term “USB protocol” simply refers to a USB data payload.

Resp. at 38-39. ACQIS does not dispute that some of the asserted claims recite “Universal Serial

Bus (USB) protocol data packets” or “data packets in accordance with a Universal Serial Bus

(USB) protocol.”12 But ACQIS fails to address that under its construction those terms would have

the following nonsensical interpretations: “[USB data payload] packets” and “data packets in

accordance with a [USB data payload].” Defendants’ arguments merely point out ACQIS’s

attempt to confuse a USB data packet with a USB data payload. Moreover, as the USB 2.0

Specification makes clear, a USB 2.0 transaction has three elements: a “token packet,” a



12
     ’750 patent, claims 4, 7, 24, 46; ’359 patent, claims 1, 6, 19; ’977 patent, claim 1.
                                                    17
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“handshake packet,” and a “data packet,” and the data packet includes more than its data payload.

Br. at 37; Ex. 20 at 8. In short, the terms reciting “USB protocol” (or “USB protocol data”) do not

merely refer to a USB data payload, as ACQIS proposes.

       E.      “Computer Module”

       ACQIS argues that (1) Defendants’ construction improperly imports elements into the term

“computer module,” and (2) Defendants’ use of the terms “user-removable, user-portable”

introduces ambiguity that is likely to confuse the jury. Resp. at 39-43. ACQIS is wrong.

       First, Defendants’ construction, unlike ACQIS’s, is directly supported by all relevant

intrinsic evidence. Br. at 38-40. Every embodiment in the patent specifications discloses a

“computer module” that consists of an enclosure that is insertable into and removable from a

console that houses at least a processor, memory, and mass storage. Id. There is no embodiment

in which a computer module does not include these generic “computer components.” ’768 Patent

9:56. Yet, ACQIS argues that two claims of the ’873 and ’624 patents suggest that a computer

module does not require a mass storage device. Resp. at 41. That argument contradicts the

Abstract and the “Brief Summary of the Invention” of the ’873 and ’624 patents which state that

“[e]ach of the computer modules has . . . a mass storage device.” E.g., ’873 patent, Abstract, 4:24-

28, 39-43. Nonetheless, Defendants are willing to omit “mass storage” device from their proposed

construction to resolve this dispute, and bring Defendants’ construction in line with what ACQIS

advanced in a different case concerning related patents, where it argued that a “computer module”

was “an assembly” comprising “at least a processing unit[] [and] memory.” See Ex. 34 at 11-12.

In contrast to Defendants’ intrinsic-based construction, ACQIS’s proposed construction is

unsupported and vague.      The specifications do not use the terms “computing package” or

“computing function,” or set forth what those terms are intended to mean. “[C]laims cannot be of

broader scope than the invention that is set forth in the specification.” On Demand Mach. Corp.
                                                18
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v. Ingram Indus., Inc., 442 F.3d 1331, 1340 (Fed. Cir. 2006). And those terms are so broad that

they are meaningless in this context. The Court should thus reject ACQIS’s construction.

       Second, ACQIS’s assertion that the terms “user-removable” and “user-portable” would be

confusing to a jury strains credibility. There is nothing about the concepts of removability or

portability—which the specifications describe as the advantages of the claimed computer modules

(e.g., ’768 patent, 2:14-55)—that would be confusing to jurors, as mobile computing devices are

ubiquitous today. Indeed, Judge Davis held “the patents’ consistent emphasis that a module is

‘removable’ warrants including that limitation in the claim construction.” EMC E.D. Tex.

Markman, 2015 WL 1737853, at *6.13 ACQIS distorts the meaning of a single specification

excerpt to incorrectly argue that the computer modules need not be portable or removable. Resp.

at 41. But that portion of the specification (’768 patent at 1:43-48) supports Defendants’ proposed

construction, stating that the present invention relates to portable or modular computing, whether

applied to a desktop or to a server.

       Finally, ACQIS argues that “nothing in the specification” limits the portability or

removability to a “user.” Resp. at 42. This argument, however, ignores Defendants’ discussion

of the specifications’ express statements regarding the invention. The specifications describe that

the claimed “computer module” addressed a problem that desktop computers were not fit for use

“on the road”—i.e., were not “portable.” Br. at 39. Such portable use can only be achieved with

a “computer module” that is removable by the user. Requiring an IT professional or other

technician with adequate tools and training to remove the computer module, as ACQIS suggests,

would not allow for work “on the go” and would therefore not address this portability problem.



13
  Judge Davis’s finding there that “user-portable” “introduces unnecessary ambiguity” into the
construction is incorrect as the term “portable” appears throughout the specifications of the
Asserted Patents and is a readily-understood word. E.g., ’768 patent, 2:14-55.
                                                19
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Indeed, the ’654 patent specification states that the modular computer may be located at a home

(’654 Patent 9:56-10:3), where IT professionals would not assist with removal.14

       F.      “Console”

       Defendants’ construction of “console” is supported by the intrinsic evidence (Br. at 41-42),

whereas ACQIS’s is not. ACQIS incorrectly contends that the ’768 patent “makes clear that ‘the

console is an enclosure capable of housing each coupling site.’” Resp. at 43. In fact, the very

same passage of the specification ACQIS relies on expressly defines a “coupling site” to be a

“computer module bay.” ’768 patent, 4:33. Moreover, none of the Reissue Patents’ specifications

or claims recite the term “coupling site.” Thus, to the extent ACQIS asserts a “coupling site” is

not a “computer module bay,” this assertion improperly excludes all the embodiments in the

Reissue Patents. Defendants’ construction is consistent with all embodiments of the inventions

and the express language of the claims in all the Asserted Patents.

       ACQIS’s inclusion of “device” in its proposed construction has no support. The word

“device” serves only to broaden the clams unjustifiably, as a “device” can be almost anything,

whereas an “enclosure” has a specific, understood meaning. Indeed, previously ACQIS argued

that a “console” was “a chassis that connects several components of the computer system,” and

opposed a construction of “a device that supplies a module with a primary input, display, and

power supply to form an operating computer system.” See EMC E.D. Tex. Markman, 2015 WL

1737853, at *7. Likewise, ACQIS argued that the term “console” means “an enclosure with

internal power and data connections for housing computer modules and other computer system


14
   ACQIS also misrepresents Defendants’ brief as saying “‘many of the alleged inventive
embodiments’ describe the computer module as being removable.” Resp. at 41. Defendants’ brief
instead describes (i) how the problem all embodiments attempted to solve was to create a portable
computer that had the performance of a desktop, (ii) an important aspect of this portability is that
a user can easily remove it from a console, and (iii) that this removability is described in the
discussion of many of the disclosed embodiments. Br. at 39-40.
                                                20
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components to the extent recited in the claims.” See Ex. 34 at 16-17 (“The Patents-in-Suit

uniformly teach that a console is a peripheral ‘enclosure’[.]”). ACQIS’s argument that because

the specifications describe that a console in one instance may be “a chassis and a motherboard”

and therefore can be a “device” and not just an “enclosure” is nonsensical. Resp. at 43. The fact

that a chassis—which is an enclosure—might have a motherboard within it does not make it a

device. There is no basis to add the word “device” to the construction of the term “console.”15

       G.      “Single Chip”

       Defendants’ construction resolves the dispute between the parties as to the ordinary

meaning of this term. In every instance, the Asserted Patents use the term “chip” to refer to an

integrated circuit chip.16   When a patentee uses a claim term throughout the entire patent

specification in a manner consistent with only a single meaning, he has defined that term “by

implication.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582, 1584 n.6 (Fed. Cir. 1996).

Integrating one integrated circuit chip with another integrated circuit chip creates two integrated

circuit chips, not the “single chip” recited in the claims.

       H.      “Central Processing Unit”

       Defendants’ construction is consistent with how a person of ordinary skill in the art would

understand the term “central processing unit” and should be adopted. Defendants’ proposed

construction distinguishes instances where Dual-CPU systems are described in the patent

specifications from the claimed single CPU systems. See, e.g., ’768 patent 2:62-3:17; ’873 patent

2:51-3:5.



15
   The Samsung construction of “console” that includes “a device” was based on the parties’
agreement which, as explained here, is unsupported by the intrinsic evidence. Ex. 27 at 34.
16
  See, e.g., ’768 patent 1:49-52, 7:7-13, 11:27-38, 16:29-31, 26:10-14 & Fig. 8B; ’654 patent 1:41-
44, 6:51-61, 14:34-46, 15:10-14.
                                                  21
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                                CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that all counsel of record who are deemed to have consented to electronic service are being served

with a copy of the foregoing document via the Court’s CM/ECF system on October 1, 2021.



                                                    /s/ Christopher Kao
                                                    Christopher Kao
